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                                   UNITED STATES BANKRUPTCY COURT

                                           Northern District of Georgia



In    Debtor(s)
Re:   Sammy Lee Crumbley Jr.                                      Case No.: 13−69258−bem
      794 Cormac Drive                                            Chapter: 7
      Riverdale, GA 30296                                         Judge: Barbara Ellis−Monro

      xxx−xx−6721

      Vita Norwood Crumbley
      794 Cormac Drive
      Riverdale, GA 30296

      xxx−xx−4082


                            NOTICE OF APPOINTMENT OF INTERIM TRUSTEE
                             AND SCHEDULING OF MEETING OF CREDITORS




NOTICE IS HEREBY GIVEN that the United States Trustee has appointed an Interim Trustee in the above−styled
bankruptcy case:

S. Gregory Hays
Hays Financial Consulting, LLC
Suite 555
2964 Peachtree Road
Atlanta, GA 30305

(404) 926−0060


The former Interim Trustee resigned due to a conflict.



YOU ARE FURTHER NOTIFIED that, pursuant to 11 U.S.C. Section 341, the Meeting of Creditors will be held
on July 15, 2021 at 08:50 AM at the following location:
Meeting will be telephonic. To attend, Dial: 866−909−7148 and enter: 4958999, when prompted for
participation code.




                                                                  M. Regina Thomas
                                                                  Clerk of Court
                                                                  U.S. Bankruptcy Court


Dated: June 9, 2021
     Case 13-69258-bem   Doc 31 Filed 06/09/21 Entered 06/09/21 10:18:09   Desc Ntc.
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